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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff

                                                         DECISION and ORDER
-vs-
                                                         11-CR-6083

ROBERT W . MORAN

                            Defendant
__________________________________________

       This case was referred by text order of the undersigned, entered May 2, 2011, ECF

No. 2, to Magistrate Judge Marian W . Payson, pursuant to 28 U.S.C. § 636(b)(1)(A)-(B). On

July 15, 2011, Defendant filed an omnibus motion, ECF No. 52, seeking inter alia suppression

of of a photographic identification On February 6, 2012, Magistrate Judge Payson filed a

Report and Recommendation (“R&R”), ECF No. 115, recommending that the Court deny

Defendant’s motion to suppress. The time has passed for Defendant to file any objections to

the R&R, and none have been filed.

       Accordingly, for the reasons set forth in Magistrate Judge Payson’s R&R, Defendant’s

application to suppress the photographic identification is denied.

       IT IS SO ORDERED.

Dated: Rochester, New York
       March 8, 2012

                            ENTER:


                                                  /s/ Charles J. Siragusa
                                                  CHARLES J. SIRAGUSA
                                                  United States District Judge
